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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


    UNITED STATES CONFERENCE OF
    CATHOLIC BISHOPS,

              Plaintiff,
                                                                            Civil Action No.
       v.
                                                                        25-cv-465 (TNM/GMH)
    UNITED STATES DEPARTMENT OF
    STATE, et al.,

              Defendants.


                                   MEDIATION STANDING ORDER

        This matter has been referred to the undersigned for the purpose of mediation.

Accordingly, it is hereby

        ORDERED that the mediation shall take place in person on February 27, 2025, beginning

at 11:00 a.m. It is further

        ORDERED that the conference shall be attended by an authorized representative of each

party involved, together with trial counsel for each party. An insured party need not attend unless

the settlement decision will be made in part by the insured. When the settlement decision will be

made in whole or in part by an insurer, the insurer shall send a representative in person with full

and complete authority to make settlement decisions unless an exception is requested and granted

by the undersigned for good cause shown. A corporate party or other business entity shall send a

representative from the business entity 1 with full and complete authority to bind the entity unless




1
 Outside counsel, appearing alone, may not serve as the authorized representative of a business entity without
express permission from the undersigned.
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an exception is requested and granted by the undersigned for good cause shown. A governmental

entity shall send a representative authorized to act on its behalf. It is further

       ORDERED that the parties shall each provide to the undersigned, ex parte, a short and

confidential mediation statement by close of business on February 25, 2025. The mediation

statement shall not become a part of the file in the case but shall be for the exclusive use of the

undersigned in preparing for and conducting the settlement conference. The mediation statement

should be sent via email as the parties have been instructed. In these statements, the parties shall

each include:

       (a)      the name, title, and contact information of each person who will be participating in
                the mediation on behalf of that party and designate which individuals will have
                settlement or negotiating authority;

       (b)      a candid assessment of the major legal and factual issues in the case, including the
                strengths and weaknesses of the claims and/or defenses raised;

       (c)      if discovery has not been completed, an explanation of whether the exchange of
                any documents or records prior to mediation would make the mediation session
                more productive and a description of the nature of any such documents or records;

       (d)      the potential monetary exposure of any applicable damages and/or attorney’s fees
                claims;

       (e)      a history of previous settlement negotiations, if any;

       (f)      the party’s ideas on how the case could be resolved at this juncture;

       (g)      any impediments to settlement that the party perceives; and

       (h)      a present settlement proposal.

If there are any key documents that the undersigned should review prior to the settlement

conference, please attach them. The mediation statements should not be lengthy, but should

contain enough information to be useful to the undersigned in analyzing the factual and legal issues

in the case. The parties are directed to be candid in their mediation statements. It is further



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       ORDERED that in the event that a participant requires sign language interpreting during

mediation, the parties shall notify the Court of that request at least three weeks prior to the

mediation. If the parties require any other language interpretation or translation services, they are

responsible for providing it themselves.

       The parties are further advised of the following:

       (a)     Participants in the mediation should refrain from scheduling other matters or
               appointments on the date of the mediation, including into the evening. If any party
               will be traveling to the District of Columbia for the mediation, no return travel plans
               should be made on the day of the mediation.

       (b)     The settlement conference will take place in Courtroom 6 within the E. Barrett
               Prettyman United States Courthouse located at 333 Constitution Avenue N.W.,
               Washington, D.C. 20001. The nearest Metro stop is Judiciary Square on the Red
               Line.

       SO ORDERED.                                                   G. Michael Harvey
                                                                     2025.02.21
Date: February 21, 2025                               ___________________________________
                                                                     18:01:21 -05'00'
                                                      G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE




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